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                   EXHIBIT A
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                                CITY COUNCIL DISTRICT 12
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CITY COUNCIL DISTRICT 12
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                                                                                                                                                                                                                                                                                              2020 Districts based on 2020 US Census data
                                                                                                                                                                                                                                                                                              July 27, 2022
                                                                                                                                                                                                                                                                                              Content intended for illustrative purposes only
